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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

v.                                                    CASE NO.: 4:10cr35-SPM

RALPHY JOSEPH,

           Defendant.
____________________________/

       ORDER DENYING REQUEST FOR RDAP RECOMMENDATION

      This cause comes before the Court on Defendant Ralphy Joseph’s letter

requesting that his Presentence Report be amended and that the Court

recommend Defendant for the Residential Drug Abuse Program (“RDAP”). Doc.

81.

      The Presentence Report accurately reflects the position Defendant took

regarding his drug use prior to sentencing. It will therefore not be amended. Nor

will the Court amend Defendant’s sentence to include a recommendation for drug

treatment.

       Based on the information now provided by Defendant, the Bureau of

Prisons can make a determination of whether Defendant should be placed in the

RDAP. The Court makes no recommendation to the Bureau or Prisons for or
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against Defendant’s participation in the RDAP. Accordingly, it is

        ORDERED AND ADJUDGED: no changes will be made to Defendant’s

PSR and no recommendation for Defendant’s participation in the RDAP will be

made by the Court,.

        DONE AND ORDERED this 1st day of June, 2011.


                                         s/ Stephan P. Mickle
                                         Stephan P. Mickle
                                         Chief United States District Judge




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